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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Roy vs. City of Gardner

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NOTICE OF SCHEDULING CONFERENCE

An initial scheduling conference will be held at 10:00am on
November l, 2002, in Courtroom #2. 5TH Floor, 595 Main Street,
Worcester, MA in accordance with Fed. R. Civ. P. l6(b) and LR 16.1.
The court considers attendance of the senior lawyers ultimately
responsible for the case and compliance with sections (B), (C), and
(D) of LR 16.1 to be of utmost importance. Counsel may be given a
continuance only if actually engaged on trial. Failure to comply
fully with this notice and with sections (B), (C), and (D) of LR
16.1 may result in sanctions under LR 1.3. Counsel for the
plaintiff is responsible for ensuring that all parties and/or their
attorneys, Who have not filed an answer or appearance with the
court, are notified of the scheduling conference date.

October 3, 2002

 

U. S. District Judge

 

Sections (B), (C), and (D) of LR 16.1 provider

(B) Obligation of counsel to confer. Unless otherwise ordered by
the judge, counsel for the parties shall confer no later than
thirty (30) days before the date for the scheduling
conference for the purpose of:

(l) preparing an agenda of matters to be discussed at the
scheduling conference,

(2) preparing a proposed pretrial schedule for the case
that includes a plan for discovery, and

(3) considering whether they will consent to trial by
magistrate judge.

 

 

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(C) Settlement proposals. Unless otherwise ordered by the judge,
the plaintiff shall present written settlement proposals to
all defendants no later than ten (10) days before the date for
the scheduling conference, Defense counsel shall have
conferred with their clients on the subject of settlement
before the scheduling conference and be prepared to respond to
the proposals at the scheduling conference,

(D) Joint statement. Unless otherwise ordered by the judge, the
parties are required to file, no later than five (5) business
days before the scheduling conference, a joint statement
containing a proposed pretrial schedule, which shall include:

(1) a joint discovery plan scheduling the time and length
for all discovery events, that shall

(a) conform to the obligation to limit discovery
set forth in Fed.R.Civ.P. 26(b), and

(b) take into account the desirability of
conducting phased discovery in which the first
phase is limited to developing information needed
for a realistic assessment of the case and, if the
case does not terminate, the second phase is
directed at information needed to prepare for
trial; and

(2) a proposed schedule for the filing of motions; and

(3) certifications signed by counsel and.by the party (in
the case of a corporation by an authorized
representative) affirming that each party and that
party's counsel have conferred:

(a) with a view to establishing a budget for the
costs of conducting the full course -- and various
alternative courses -- for the litigation; and

(b) to consider the resolution of the litigation
through the use of alternative dispute resolution
programs such as those outlined in LR 16.4.

To the extent that all parties are able to reach agreement on
a pretrial schedule, they shall so indicate. To the extent that
the parties differ on what the pretrial schedule should be, they
shall set forth separately the items on which they differ and
indicate the nature of that difference. The purpose of the parties'
proposed pretrial schedule or schedules shall be to advise the
judge of the parties' best estimates of the amounts of time they
will need to accomplish specified pretrial steps. The parties'
proposed agenda for the scheduling conference, and their proposed
pretrial schedule or schedules, shall be considered by the judge as
advisory only.

 

